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   CASE NUMBER                            TYPE of CASE                                                           STATUS                                          DATE FILED
   21 CV 001536                           OTHER CIVIL                                                            ACTIVE                                          03/11/2021

   JUDGE                                  COURTROOM
   CHRIS M BROWN                          COURTROOM 6F
                                          345 SOUTH HIGH STREET
                                          6TH FLOOR
                                          COLUMBUS, OH 43215

   PLAINTIFF(S)
   Name                                                                  Attorney
   OHIO DEPARTMENT OF MEDICAID                                           MATTHEW C MCDONALD
   STATE OHIO DAVID A YOST                                               MATTHEW C MCDONALD

   DEFENDANT(S)
   Name                                                                  Attorney
   CENTENE CORPORATION                                                   NO ATTORNEY ON RECORD
   BUCKEYE HEALTH PLAN                                                   NO ATTORNEY ON RECORD
   ENVOLVE PHARMACY SOLUTIONS                                            NO ATTORNEY ON RECORD

   CASE SCHEDULE
    Date                 Description
    03/11/21             CASE FILED
                         INITIAL STATUS CONFERENCE
    07/29/21             INITIAL JOINT DISCLOSURE OF ALL WITNESSES
    09/23/21             SUPPLEMENTAL JOINT DISCLOSURE OF ALL WITNESSES
    12/16/21             DISPOSITIVE MOTIONS
    12/30/21             DISCOVERY CUT-OFF
    02/10/22             DECISIONS ON MOTIONS
    03/01/22             FINAL PRE-TRIAL CONFERENCE/ORDER (OR BOTH)
    03/22/22             TRIAL ASSIGNMENT

 DOCKET           Show All Descriptions                           Select Docket Category      All
   Date               Description                                                                                   Image        Fiche                        Frame           Pages
   03/29/21           MOTION GRANTED                                                                                             0F453                        A80             2
   03/29/21           MOTION GRANTED                                                                                             0F453                        Q50             3
   03/29/21           PRO HAC VICE ORDER                                                                                         0F453                        Q50             3
   03/29/21           PRO HAC VICE ORDER                                                                                         0F453                        Q50             3
   03/29/21           ATTORNEY APPEARANCE PRO HAC VICE
   03/29/21           ATTORNEY APPEARANCE PRO HAC VICE
   03/29/21           MOTION GRANTED                                                                                             0F453                        Q26             3
   03/29/21           PRO HAC VICE ORDER                                                                                         0F453                        Q26             3
   03/29/21           PRO HAC VICE ORDER                                                                                         0F453                        Q26             3
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   03/29/21           ATTORNEY APPEARANCE PRO HAC VICE
   03/29/21           MOTION GRANTED                                                                                             0F453                        Q21             3
   03/29/21           PRO HAC VICE ORDER                                                                                         0F453                        Q21             3
   03/29/21           PRO HAC VICE ORDER                                                                                         0F453                        Q21             3
   03/29/21           ATTORNEY APPEARANCE PRO HAC VICE
   03/29/21           ATTORNEY APPEARANCE PRO HAC VICE
   03/29/21           PRO HAC VICE ORDER                                                                                         0F453                        A80             2
   03/29/21           PRO HAC VICE ORDER                                                                                         0F453                        A80             2
   03/29/21           ATTORNEY APPEARANCE PRO HAC VICE
   03/29/21           ATTORNEY APPEARANCE PRO HAC VICE
   03/29/21           SERVICE COMPLETE - CERTIFIED MAIL                                                                          E3277                        Z19             1
   03/29/21           SERVICE COMPLETE - CERTIFIED MAIL                                                                          E3277                        Z18             1
   03/29/21           SERVICE COMPLETE - CERTIFIED MAIL                                                                          E3277                        Z17             1
   03/26/21           MOTION FOR PRO HAC VICE                                                                                    0F450                        V50             4
   03/26/21           MOTION FOR PRO HAC VICE                                                                                    0F450                        V46             4
   03/26/21           MOTION FOR PRO HAC VICE                                                                                    0F450                        V42             4
   03/26/21           MOTION FOR PRO HAC VICE                                                                                    0F450                        V38             4
   03/12/21           PROOF OF SERVICE ISSUED - CERTIFIED MAIL                                                                   E3274                        M09             1
   03/12/21           PROOF OF SERVICE ISSUED - CERTIFIED MAIL                                                                   E3274                        M08             1
   03/12/21           PROOF OF SERVICE ISSUED - CERTIFIED MAIL                                                                   E3274                        M07             1
   03/12/21           SUMMONS ISSUED                                                                                             E3274                        N35             1
   03/12/21           SUMMONS ISSUED                                                                                             E3274                        N34             1
   03/12/21           SUMMONS ISSUED                                                                                             E3274                        N33             1
   03/11/21           APPLIED - DEPOSIT FOR COSTS                                                                                                             00
   03/11/21           SECURITY DEPOSIT RECEIVED                                                                                                               00
   03/11/21           APPLIED - SPECIALTY DOCKET FUND                                                                                                         00
   03/11/21           APPLIED - COMPUTERIZED RESEARCH LEGAL FEES                                                                                              00
                                                                                                                   EXHIBIT
                                                                                                                                         exhibitsticker.com




   03/11/21           SECURITY DEPOSIT RECEIVED                                                                                                               00
   03/11/21           APPLIED - LEGAL AID                                                                                                                     00
   03/11/21           APPLIED - DAILY REPORTER                                                                                                                00
   03/11/21           APPLIED - CLERK                                                                                                                         00

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   03/11/21       APPLIED - DEPOSIT FOR COSTS                                                      00
   03/11/21       MOTION GRANTED                                                           E3274   D93   1
   03/11/21       MISCELLANEOUS PAPER                                                      E3274   D94   1
   03/11/21       DOCUMENT SEALED BY COURT                                                 E3274   D93   1
   03/11/21       MOTION                                                                   E3274   D86   7
   03/11/21       CASE INFORMATION SHEET                                                   E3274   D85   1
   03/11/21       EXHIBITS                                                                 S0215   M63   2
   03/11/21       EXHIBITS                                                                 S0215   M60   3
   03/11/21       EXHIBITS                                                                 S0215   M58   2
   03/11/21       EXHIBITS                                                                 S0215   K04   252
   03/11/21       APPEARANCE FILED
   03/11/21       JUDGE ASSIGNED - ORIGINAL
   03/11/21       COMPLAINT FILED                                                          S0215   J81   22
   03/11/21       JURY DEMAND - PLAINTIFF                                                  UP000   A01   22
   03/11/21       APPEARANCE FILED                                                         UP000   A01   22
   03/11/21       HEARING/EVENT SCHEDULED
   03/11/21       HEARING/EVENT SCHEDULED
   03/11/21       REQUEST FOR SERVICE - CERTIFIED MAIL
   03/11/21       REQUEST FOR SERVICE - CERTIFIED MAIL
   03/11/21       REQUEST FOR SERVICE - CERTIFIED MAIL




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